4/27/2021        Case: 1:20-cv-06316 Document #: 60-2 Filed:
                                                         Grant05/23/21
                                                              Package  Page 1 of 1 PageID #:1625



  Errors:
     Federal Estimated Funding: The Federal Estimated Funding (Federal Share) in the Standard Applicant Information screen does not match the Federal Funds in the Consolidated
     Category Summary screen.




                                                                  Exhibit 2
        Standard Applicant Information

             Project Information

                Project Title                                                Proposed Project Start Date                                   Proposed Project End Date
                Trenstr Project                                              10/1/21                                                       9/30/24
                Federal Estimated Funding (Federal Share)                    Applicant Estimated Funding (Non-Federal                      Program Income Estimated Funding
                750000                                                       Share)                                                        750000
                Total Estimated Funding                                      ——

                750000



                 Areas Affected by Project (Cities, Counties, States, etc.)


                 Chicago

                 Cook County

                 Illinois




             Type Of Applicant

              Type of Applicant 1: Select Applicant Type:
              M: Nonprofit with 501C3 IRS Status (Other than Institution of Higher Education)

              Type of Applicant 2: Select Applicant Type:
              ——

              Type of Applicant 3: Select Applicant Type:
              ——

              Other (specify):
              ——




             Application Submitter Contact Information

                Application POC Prefix Name
                Dr.

                Application POC First Name                                   Application POC Middle Name                                   Application POC Last Name
                Fred                                                         Lee                                                           Nance

                Application POC Suffix Name
                Jr.




                Organizational Affiliation                                   Title                                                       Email ID
                ——                                                           President & CEO                                             frednance@clickservices.org

                Phone Number                                                 Fax Number
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